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                         UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF COLORADO

In re:                                      )
                                            )
11380 SMITH ROAD LLC                        )       Case No. 18-10965 TBM
EIN XX-XXXXXXX                              )       Chapter 11
                                            )
Debtor.                                     )

                         DISCLOSURE REGARDING RECEIVERS

       In a Chapter 11 reorganization case, the following information is required pursuant
to L.B.R. 1007-7:

Check applicable box:

[X]      No receiver is in possession of Debtor’s property.

[ ]      A receiver is in possession of all or part of the Debtor’s property.

      Identification (by address or legal description) of
property(ies):
      Name of Creditor:
      Name, Address and Telephone Number of Receiver:




         Attorney for Receiver (if any):
         Name, Address and Telephone Number of Attorney:



         Date of Appointment of Receiver:
         Court Appointing Receiver and Case No.:


DATED: February 13, 2018                    Respectfully Submitted,
                                            WEINMAN & ASSOCIATES, P.C.

                                            By: /s/ Jeffrey A. Weinman
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